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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                      )              CASE NO. 8:16CR67
                                               )
       Plaintiff,                              )
                                               )
              vs.                              )              TENTATIVE FINDINGS
                                               )
CHRISTOPHER GONZALEZ,                          )
                                               )
       Defendant.                              )

       The Court has received the Revised Presentence Investigation Report and Addendum

(“PSR”) and the Defendant’s objection to ¶ 19 which fails to give the Defendant a minor or

minimal role adjustment (Filing No. 49). The government adopted the PSR (Filing No. 48).

The Defendant has filed a motion for downward departure or deviation from the sentencing

guideline, a Sentencing Memorandum, a Statement Pursuant to ¶6(d) of the Sentencing

Order, and an Index in Support of the Statement (Filing Nos. 51, 52, 53, and 54). See Order

on Sentencing Schedule, ¶ 6. The Court advises the parties that these Tentative Findings are

issued with the understanding that, pursuant to United States v. Booker, 543 U.S. 220 (2005),

the sentencing guidelines are advisory.

       Accordingly,

       IT IS ORDERED:

       1.     The Defendant’s Objection to the Revised Presentence Investigation Report

(Filing No. 49) will be heard at the sentencing hearing;

       2.     The Court intends to adopt the PSR in all other respects;

       3.     If any party wishes to challenge these tentative findings, the party shall

immediately file in the court file and serve upon opposing counsel and the Court a motion
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challenging these tentative findings, supported by (a) such evidentiary materials as are

required (giving due regard to the requirements of the local rules of practice respecting the

submission of evidentiary materials), (b) a brief as to the law, and (c) if an evidentiary hearing

is requested, a statement describing why an evidentiary hearing is necessary and an

estimated length of time for the hearing;

       4.      Absent submission of the information required by paragraph 3 of this Order,

these tentative findings are final;

       5.      The Defendant’s Motion for Downward Departure or Deviation from the

Sentencing Guidelines (Filing No. 51) will be heard at sentencing; and

       6.      Unless otherwise ordered, any motion challenging these tentative findings shall

be resolved at sentencing.

       DATED this 16th day of August, 2016.


                                             BY THE COURT:


                                             s/Laurie Smith Camp
                                             Chief United States District Judge




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